                   BEFORE THE UNITED STATES JUDICIAL PANEL
                            ON MULTIDISTRICT LITIGATION



IN RE: In re Johnson & Johnson Aerosol
Sunscreen Marketing, Sales Practices and
Products Liability Litigation                                                     MDL No. 3015


                             NOTICE OF RELATED ACTIONS


         Defendant Johnson & Johnson Consumer Inc. hereby provides notice that the actions
listed in the attached Schedule of Additional Related Actions (i) are related to the actions
included in Plaintiff Melissa Jimenez’s initial Schedule of Actions, ECF No. 1-2 (“Initial
Schedule”), and (ii) were not listed in the Initial Schedule. Docket sheets and complaints are
attached.


Dated:         New York, New York
               August 13, 2021

                                             Respectfully submitted,

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